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In the Anited States District Court
for the Southern District of Georgia

Waprross Division
JAMAL E. COLLINS,
Plaintiff, 5: 2l=cev=63
Vv.
FNU CLARK,
Defendant.
ORDER

After an independent and de novo review of the entire record,
the Court concurs with the Magistrate Judge’s Report and
Recommendation. Dkt. No. 111. Plaintiff did not file Objections
to this Report and Recommendation, and the time to do so has
elapsed. Thus, I ADOPT the Report and Recommendation as the
opinion of the Court, GRANT Defendant Clark’s Motion for Summary
Judgment, and DISMISS Plaintiff’s claims against Defendant Clark.
I also DIRECT the Clerk of Court to enter the appropriate judgment
and to CLOSE this case and DENY Plaintiff in forma pauperis status
on appeal.

SO ORDERED, this 25 day of March, 2024.

HON. JSA GODBEY WOOD, JUDGE
UNEPED STATES DISTRICT COURT
SOUTHERN DISTRICT OF GEORGIA
